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                IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF TENNESSEE
                         WESTERN DIVISION

   AMERICAN SPIRIT AND CHEER
   ESSENTIALS, INC. by HEIDI
   WEBER, ROCKSTAR
   CHAMPIONSHIPS, LLC by DAVID
   OWENS, JEFF & CRAIG CHEER,                 CIVIL ACTION
   LLC, d/b/a JEFF AND CRAIG                  FILE NUMBER:
   CAMPS, by CRAIG HALLMARK,
   MARK LUKENS and KATHLEEN                   2:20-cv-02782-SHL-tmp
   LUKENS, and ASHLEY HAYGOOD,
   Individually and on Behalf of all Others   CLASS ACTION
   Similarly Situated,                        ATTACHMENT A

                             Plaintiffs,

   v.

   VARSITY BRANDS, LLC, BSN
   SPORTS, LLC, VARSITY SPIRIT
   LLC, HERFF JONES, LLC, VARSITY
   BRANDS HOLDING CO., INC.,
   VARSITY SPIRIT FASHION &
   SUPPLIES, LLC, U.S. ALL STAR
   FEDERATION, INC., USA
   FEDERATION FOR SPORT
   CHEERING, d/b/a USA CHEER,
   VARSITY INTROPA TOURS, LLC
   and JEFF WEBB,

                            Defendants.
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                                  REQUEST FOR DOCUMENTS

           What we hope to get from you is just basic information. Of particular importance are any

   contracts or documents showing any of these companies made “exclusive dealing” arrangements.

   Exclusive dealing arrangement are where a company agrees to serve you on the condition that (1)

   you buy the offered goods/services from them and not others; or (2) you buy a large share of your

   requirements from them. Thank you in advance for whatever help you can provide. Hopefully, in

   time we will be able to help you, growing American businesses, students, and parents!

                                             REQUESTS

                                                     1.

           Any agreement or contracts between your organization (or any organization you oversee)

   and any of these companies in the past 7 years:

           (1)     VARSITY BRANDS, LLC

           (2)     BSN SPORTS

           (3)     VARSITY SPIRIT, LLC

           (4)     VARSITY BRANDS HOLDING CO., INC.

           (5)     VARSITY SPIRIT FASHION & SUPPLIES

           (6)     USA FEDERATION FOR SPORT CHEERING d/b/a USA CHEER

   Involving athletic goods or services, cheerleading goods or services, or uniforms used in the

   scholastic setting.

                                                     2.

           Some documentation showing how much of these items your organization—or your

   member-schools or parents or students of your member-schools—purchased from these companies

   over the past 7 years.


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                                                   3.

          Any documentation or agreements entered into with any of the companies mentioned in

   number 1 herein above, for any “All School” or “Impact Program” sales or services offered by

   them for the years 2015 to the present.

                                                   4.

          Some documentation showing the name and contact information for the person or persons

   primarily responsible for making any agreements with these companies at your organization or in

   your member-schools (if applicable).

   To respond, feel free to

          (1)     email documents to: AMSpiritLitigation@falangalaw.com

          (2)     mail documents to:      LAW OFFICES
                                          FALANGA & CHALKER
                                          ATTN: American Spirit Team
                                          11200 Atlantis Place, Suite C
                                          Alpharetta, GA 30022
          OR
          (3)    contact the requesting attorney for a hand-delivery location within 100 miles of
                 your address.
   Respectfully submitted,


                                                        /s/ Robert A. Falanga
                                                        Mr. Robert A. Falanga, Esq.
                                                        Georgia Bar No. 254400

                                                        /s/ Kobelah Svensen Bennah
                                                        Kobelah Svensen Bennah
                                                        Georgia Bar No. 378113
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